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 4
 5                      UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF CALIFORNIA
 7
                                      )       1:04-cv-06490        OWW LJO
 8   MICHAEL NEVEAU,                  )
                                      )       MEMORANDUM DECISION AND
 9                  Plaintiff,        )       ORDER RE DEFENDANTS’
                                      )
10        v.                          )       (1) MOTION TO DISMISS
                                      )       PURSUANT TO FED. R. CIV. P.
11   CITY OF FRESNO, a municipality; )        12(b)(6);
     JERRY DYER, individually;        )
12   MICHAEL GUTHRIE, individually;   )       (2) MOTION FOR A MORE
     GREG GARNER, individually;       )       DEFINITE STATEMENT PURSUANT
13   DARREL FIFIELD, individually;    )       TO FED. R. CIV. P. 12(e);
     MARTY WEST, individually;        )       AND
14   ROGER ENMARK, individually; and )
     DOES 1 through 10,               )       (3) MOTION TO STRIKE
15                                    )       PORTIONS OF THE SECOND
                                      )       AMENDED COMPLAINT PURSUANT
16                  Defendants.       )       TO FED. R. CIV. P. 12(f).
                                      )
17   ________________________________ )
18
19
20                            I.    INTRODUCTION
21
22        This is a civil rights action by a City of Fresno police
23   officer against the City of Fresno (“CITY”) and several
24   individual members of the City of Fresno Police Department.
25   Michael Neveu (“Plaintiff”) brings a civil rights claim under 42
26   U.S.C. § 1983 and under two California state “whistleblower”
27   statutes.   Defendants CITY OF FRESNO, JERRY DYER, MICHAEL
28   GUTHRIE, GREG GARNER, DARREL FIFIELD, MARTY WEST, and ROGER

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 1   ENMARK (“Defendants”) move to dismiss Plaintiff’s Second Amended
 2   Complaint.    (Doc. 33, Def.’s Mem.).     Plaintiff opposes the
 3   motion.    (Doc. 27, Pl.’s Opp.).
 4
 5                         II.      PROCEDURAL HISTORY
 6
 7        Plaintiff filed his original Complaint on November 11,
 8   2004.1    (Doc. 1, Compl.).    Plaintiff filed a First Amended
 9   Complaint against the same defendants on December 17, 2004.
10   (Doc. 19, First Am. Compl.).       The defendants named in the First
11   Amended Complaint moved to dismiss on January 18, 2005.             (Doc.
12   20, Def.’s First Mot.).       Plaintiff stipulated to file a Second
13   Amended Complaint on January 28, 2005 (Doc. 22), and filed a
14   Second Amended Complaint on March 4, 2005.         (Doc. 23, Second Am.
15   Compl.).    The Second Amended Complaint is the operative complaint
16   and it is this complaint that the Defendants now seek to dismiss.
17   (See Doc. 33, Def.’s Mem.).2
18        Plaintiff opposes Defendants’ Motion.         (Doc. 27, Pl.’s Opp,
19   filed March 15, 2005).      Defendants replied.     (Doc. 28, Def.’s
20   Reply).    Oral argument was heard on May 23, 2005.         Michael A.
21   Morguess, Esq., appeared on behalf of Plaintiff.           Joseph D.
22
          1
23          The defendants named in the original Complaint were: City
     of Fresno; Fresno Police Department; Jerry Dyer, Darrel Fifield;
24   Marty West; Dennis Montejano; John Fries; Roger Enmark; Greg
     Garner; Fremen Hunter; Michael Guthrie; and Keith Foster.
25
          2
26          Defendants filed their original Motion to Dismiss and
     Memorandum in Support on March 25, 2005. (See Docs. 24, 25).
27   Due to formatting problems, Defendants refiled their supporting
     memorandum on May 12, 2005. (Doc. 33). All citations will be to
28   the corrected document (i.e., Doc. 33).

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 1   Rubin, Esq., appeared on behalf of Defendants.
 2
 3                         III.   SUMMARY OF PLEADINGS
 4
 5         This civil rights action is brought by a Fresno City police
 6   officer against the City of Fresno, the Fresno Police Chief, and
 7   five individual Fresno City pPolice officers.        Plaintiff brings
 8   his § 1983 claim based on an alleged violation of his First
 9   Amendment right to freedom of expression.       Plaintiff claims he
10   was retaliated against for reporting to his superiors a number of
11   incidents of sexual harassment, racial discrimination, and
12   cheating on police department exams.      The allegations in the
13   complaint are taken as true for the purpose of this motion to
14   dismiss.
15         Plaintiff is and was at all relevant times a Fresno City
16   police officer and has worked as a police officer for Fresno
17   since February 1995.    (Doc. 1, Compl. ¶¶ 3, 11).
18         Defendant JERRY DYER is and was during all relevant times
19   the Chief of Police of the City of Fresno.       Defendant
20   ROGER ENMARK was at all relevant times Captain and Deputy Chief
21   of the Fresno Police Department.       Defendant DARREL FIFIELD was at
22   all relevant times Deputy Chief for the Fresno Police Department.
23   Defendant MICHAEL GUTHRIE was at all relevant times a Lieutenant
24   for the Department.    Defendants MARTY WEST and GREG GARNER were
25   at all relevant times Captains for the Department.            (Id. at ¶¶ 4-
26   8).
27         Plaintiff alleges that Defendants retaliated against him for
28   having reported sexual misconduct and racial discrimination to

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 1   the Internal Affairs and Human Resources Departments of the
 2   Fresno Police Department, and for having testified at an
 3   investigatory hearing that cheating was occurring on Fresno
 4   Police Department promotional exams.      Plaintiff alleges two
 5   adverse employment actions.    The first is that from June 1997
 6   through December 2002, Defendants failed to promote him despite
 7   his high qualifications.    The second is that, in March 2004,
 8   Defendants placed Plaintiff on administrative leave and required
 9   Plaintiff to undergo psychological examinations to determine his
10   fitness for duty.    Despite the recommendations of three
11   psychologists that he was fit for duty, Defendants refused to
12   reinstate him to duty in July 2004.3
13        Plaintiff began working for the Fresno Police Department in
14   1995.    (Doc. 1, Second Am. Compl. ¶ 11).     Plaintiff alleges that
15   he “has never scored anything below ‘exceeds expectations’ on
16   [his] evaluations....”    (Id. at ¶ 13).      Plaintiff alleges that he
17   “has had only one incident of discipline in his personnel record
18   spanning his career.”    (Id. at ¶ 14).
19        Plaintiff asserts he was retaliated against for four
20   protected First Amendment activities.        First, Plaintiff reported
21   to Police Department Internal Affairs Investigators alleged
22   sexual misconduct by a Richard Mata, who was a police department
23   official who was “suspended due to allegations of sexual
24   molestation” and was “investigated for sexual intimacy and
25   improper behavior towards a teenage girl.”        (Id. at ¶ 16).       On or
26   about July 16, 1996, Plaintiff was transferred from patrol to the
27
28        3
              Plaintiff has since been reinstated to duty.

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 1   post of “Explorer Post Advisor,” the position from which Richard
 2   Mata had been suspended.   Plaintiff alleges that unidentified
 3   Internal Affairs investigators instructed him to report directly
 4   to them any additional information relating to Richard Mata.            In
 5   July 1996, Plaintiff learned of “administrative improprieties
 6   that appeared designed to foster opportunities for further sex
 7   crimes” and reported these in writing to Internal Affairs.            (Id.
 8   at ¶¶ 21, 23).   In or around August 1996, after he submitted the
 9   report, Defendant WEST “ordered [Plaintiff] not to put any
10   information he obtained regarding the Mata allegations in
11   writing, and to only verbally report it to [Plaintiff’s immediate
12   supervisors].”   (Id. at ¶ 27).   According to Plaintiff, Internal
13   Affairs had instructed him not to report any information
14   regarding Mata to his immediate supervisors, even if they
15   instructed him to do so.   Plaintiff “refused to follow WEST’S
16   order and reiterated that he was going to do exactly as Internal
17   Affairs and Chief Winchester ordered.”       (Id. at ¶ 28).
18        Second, Plaintiff alleges that “[o]n or around December 23,
19   1996, [Plaintiff] documented and reported to [his immediate
20   supervisors] racial harassment of Southeast Asian Explorers by
21   Police Activity League volunteers....”       (Id. at ¶ 29).      One of
22   Plaintiff’s immediate supervisors (not a named defendant) advised
23   him that “Plaintiff should not have documented the racial
24   harassment because it caused staff at the Police Activity league
25   to become upset, including retired Deputy Chief Lee Piscola, and
26   that ‘pissing off a retired Chief is a bad career move.’”           (Id.).
27        Third, Plaintiff alleges that “[o]n or around December,
28   1996, [Plaintiff] submitted an extensive end of the year report

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 1   documenting potentially embarrassing or troubling incidents
 2   involving [his immediate supervisors], including the ‘banking’ of
 3   overtime hours, which were unlawfully denied to [Plaintiff].”
 4   (Id. at ¶ 30).     Furthermore, Plaintiff alleges that Defendant
 5   WEST prevented the report from reaching Chief Winchester’s
 6   office.   (Id.).
 7        Fourth, Plaintiff alleges that in or about March 2002, he
 8   testified at an administrative hearing that cheating occurred on
 9   Department promotional exams.     On or around March 2001, a new
10   promotional testing system for the promotion to the rank of
11   Sergeant was implemented by Chief DYER.      (Id. at ¶¶ 32-34).
12   According to Plaintiff, the system was created at the request of
13   Defendants GARNER AND ENMARK.     However, after the new system was
14   implemented, some of the candidates complained that the system
15   was “tainted and therefore inaccurate.”      (Id. at ¶ 34).        The
16   complaints resulted in a hearing that took place before the Civil
17   Service Commission in February/March 2002.       (Id.).       Plaintiff he
18   informed attorneys handling the hearing “that some promotional
19   candidates were unlawfully given the answers prior to taking
20   the...promotional exam.”     The day after Plaintiff reported this
21   information to the attorneys, Defendant GARNER “brought
22   [Plaintiff] into his office, confronted [Plaintiff] in a hostile
23   manner and stated words to the effect that ‘Yesterday I spent the
24   better part of the afternoon on the stand getting my [a**] chewed
25   off and I only kept wondering one thing--why your name had come
26   up as a witness.”     (Id. at ¶ 36).   Moreover, Plaintiff alleges
27   that “[i]n an attempt to discredit NEVEU’s testimony, Captain
28   GARNER advised attorneys handling the hearing that NEVEU was a

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 1   ‘crack pot,’ ‘screwball,’ and that he had ‘ethical problems.’”
 2   (Id. at ¶ 37).   On or about March 12, 2002, Plaintiff, as well as
 3   his wife, testified before the hearing “as to the improprieties
 4   and outright cheating on in the testing process.”         (Id. at ¶ 38).
 5        Plaintiff alleges these activities are protected First
 6   Amendment activities and that Defendants retaliated against him
 7   for engaging in these activities.      Plaintiff alleges two separate
 8   adverse employment actions.    First, he alleges that from
 9   approximately June 1997 and December 2002, Defendants WEST,
10   FIFIELD, GUTHRIE, and GARNER failed to promote Plaintiff.           (Id.
11   at ¶ 41).   Plaintiff claims that someone informed him that “at
12   staff meetings, WEST, FIFIELD, GUTHRIE, and GARNER always
13   disapproved of any promotion or selection of NEVEU to...[a]
14   special unit, despite NEVEU’s record and commendations.”           (Id.).
15   Furthermore, Plaintiff alleges that these Defendants denied the
16   promotions because of reporting the Mata allegations, the alleged
17   racial harassment, the “banking” of overtime hours, and
18   testifying before the Civil Service Commission.         (Id.).    Finally,
19   Plaintiff claims that on or about July 25, 2002, the sergeants
20   promotion list containing Plaintiff’s name was “killed” before
21   reaching Plaintiff’s name in retaliation for testifying before
22   the Civil Service Commission.     This allegation is not related to
23   any particular defendant, although Plaintiff alleges in the next
24   paragraph that he “was further informed that Captain WEST ‘and
25   that group’ had done similar ‘black listing’ to other officers
26   who spoke up.”   (Id. at ¶ 43).
27        Second, Plaintiff alleges that on March 1, 2004, Defendants
28   DYER and ENMARK, with the assistance of GUTHRIE, placed him on

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 1   administrative leave pending a fitness for duty examination.
 2   (Id. at ¶ 45).    Plaintiff alleges that DYER, ENMARK, and GUTHRIE
 3   placed him on administrative leave “for engaging in the
 4   aforementioned protected activities.”          (Id. at ¶ 47).     Plaintiff
 5   was subsequently examined by three psychologists who declared him
 6   fit for duty.    (Id. at ¶ 49).     Plaintiff alleges that “[o]n or
 7   around July 6, 2004, Chief DYER and Deputy Chief ENMARK refused
 8   to reinstate [him].”    (Id. at ¶ 50).
 9        On November 1, 2004, the same date that the original
10   Complaint in this action was filed, Plaintiff filed a government
11   tort claim pursuant to the California Tort Claims Act (Cal. Gov.
12   Code §§ 910 et seq.).    Plaintiff received a response dated
13   December 13, 2004, which stated that any causes of action
14   accruing before November 1, 2003, were not presented within one
15   year after the incident.       (Id. at ¶ 51).     Plaintiff interpreted
16   this response as a rejection of his claim.          (Id.).
17
18                            IV.     LEGAL STANDARDS
19
20        A.    Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6).
21        Fed. R. Civ. P. 12(b)(6) allows a defendant to attack a
22   complaint for failure to state a claim upon which relief can be
23   granted.   A motion to dismiss under Fed. R. Civ. P. 12(b)(6) is
24   disfavored and rarely granted: “[a] complaint should not be
25   dismissed unless it appears beyond doubt that plaintiff can prove
26   no set of facts in support of his claim which would entitle him
27   to relief.”     Van Buskirk v. CNN, Inc., 284 F.3d 977, 980
28   (9th Cir. 2002) (citations omitted).       In deciding whether to

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 1   grant a motion to dismiss, the court “accept[s] all factual
 2   allegations of the complaint as true and draw[s] all reasonable
 3   inferences in favor of the nonmoving party.”         TwoRivers v. Lewis,
 4   174 F.3d 987, 991 (9th Cir. 1999).
 5        “The court need not, however, accept as true allegations
 6   that contradict matters properly subject to judicial notice or by
 7   exhibit.    Nor is the court required to accept as true allegations
 8   that are merely conclusory, unwarranted deductions of fact, or
 9   unreasonable inferences.”      Sprewell v. Golden State Warriors,
10   266 F.3d 979, 988 (9th Cir. 2001) (citations omitted).            For
11   example, matters of public record may be considered under Fed. R.
12   Civ. P. 201, including pleadings, orders and other papers filed
13   with the court or records of administrative bodies.            See Lee v.
14   City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001).
15   Conclusions of law, conclusory allegations, unreasonable
16   inferences, or unwarranted deductions of fact need not be
17   accepted.   See Western Mining Council v. Watt, 643 F.2d 618, 624
18   (9th Cir. 1981).
19        “Where the facts and dates alleged in a complaint
20   demonstrate that the complaint is barred by the statute of
21   limitations, a Federal Rule of Civil Procedure 12(b)(6) motion
22   should be granted.”    Ritchie v. United States, 210 F. Supp. 2d
23   1120, 1123 (N.D. Cal. 2002).     There is no requirement, however,
24   that affirmative defenses, including statutes of limitation,
25   appear on the face of the complaint.      Hyatt Chalet Motels, Inc.
26   v. Carpenters Local 1065, 430 F.2d 1119, 1120 (9th Cir. 1970).
27   “When a motion to dismiss is based on the running of the statute
28   of limitations, it can be granted only if the assertions of the

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 1   complaint, read with the required liberality, would not permit
 2   the plaintiff to prove that the statute was tolled.”           Jablon v.
 3   Dean Witter & Co., 614 F.2d 677, 682 (1980); see also TwoRivers,
 4   174 F.3d at 991.
 5
 6        B.     Motion for a More Definite Statement Pursuant to Fed.
                 R. Civ. P. 12(e).
 7
 8        A motion for a more definite statement pursuant to Fed. R.
 9   Civ. P. 12(e) attacks the unintelligibility of the complaint, not
10   simply the mere lack of detail, and is only proper when a party
11   is unable to determine how to frame a response to the issues
12   raised by the complaint.      A court will deny the motion where the
13   complaint is specific enough to apprise the defendant of the
14   substance of the claim being asserted.       Bureerong v. Uvawas,
15   922 F. Supp. 1450, 1461 (C.D. Cal. 1996); see also Famolare, Inc.
16   v. Edison Bros. Stores, Inc., 525 F. Supp. 940, 949 (E.D. Cal.
17   1981) (finding a Rule 12(e) motion proper “only where the
18   complaint is so indefinite that the defendant cannot ascertain
19   the nature of the claim being asserted”).       A motion for a more
20   definite statement is proper only where the complaint is “so
21   vague or ambiguous that the opposing party cannot respond, even
22   with a simple denial, in good faith or without prejudice to
23   himself.”   Cellars v. Pacific Coast Packaging, Inc., 189 F.R.D.
24   575, 578 (N.D. Cal. 1999) (internal quotations and citation
25   omitted); see also Sagan v. Apple Computer Inc., 874 F. Supp.
26   1072, 1077 (C.D. Cal. 1994) (citing Van Dyke Ford, Inc. v. Ford,
27   399 F. Supp. 277, 284 (E.D. Wis. 1975)) (“A Rule 12(e) motion is
28   more likely to be granted where the complaint is so general that

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 1   ambiguity arises in determining the nature of the claim or the
 2   parties against whom it is being made.”); Boxall v. Sequoia Union
 3   High Sch. Dist., 464 F. Supp. 1104, 1114 (N.D. Cal. 1979)
 4   (finding a motion for a more definite statement should not be
 5   granted unless the defendant literally cannot frame a responsive
 6   pleading).
 7        “Rule 12(e) is designed to strike an unintelligibility
 8   rather than want of detail....    A motion for a more definite
 9   statement should not be used to test an opponent’s case by
10   requiring him to allege certain facts or retreat from his
11   allegations.”   Palm Springs Med. Clinic, Inc. v. Desert Hosp.,
12   628 F. Supp. 454, 464-65 (C.D. Cal. 1986) (quoting Juneau Square
13   Corp. v. First Wis. Nat’l Bank, 60 F.R.D. 46, 48 (E. D. Wis.
14   1973)).   A Rule 12(e) motion “is likely to be denied where the
15   substance of the claim has been alleged, even though some of the
16   details are omitted.”   Sagan, 874 F. Supp. at 1077 (citing
17   Boxall, 464 F. Supp. at 1113-14).
18        This liberal standard of pleading is consistent with Fed. R.
19   Civ. P. 8(a)(2) which allows pleadings that contain a “short and
20   plain statement of the claim.”    Both rules assume that the
21   parties will familiarize themselves with the claims and ultimate
22   facts through the discovery process.        See Sagan, 874 F. Supp. at
23   1077 (“Motions for a more definite statement are viewed with
24   disfavor and are rarely granted because of the minimal pleading
25   requirements of the Federal Rules.”).       If the detail sought by a
26   motion for a more definite statement is obtainable through
27   discovery, the motion should be denied.        See McHenry v. Renne, 84
28   F.3d 1172, 1176 (9th Cir. 1996) (granting 12(e) motion where

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 1   complaint “does not provide defendants with a fair opportunity to
 2   frame a responsive pleading”); see also Sagan, 874 F. Supp. at
 3   1077 (“Parties are expected to use discovery, not the pleadings,
 4   to learn the specifics of the claims being asserted.”); Beery v.
 5   Hitachi Home Elec. (Amer.), Inc., 157 F.R.D. 477, 480 (C.D. Cal.
 6   1993) (finding motion for a more definite statement should be
 7   denied if the detail sought is obtainable through discovery);
 8   Federal Savings and Loan Ins. Corp. v. Musacchio, 695 F. Supp.
 9   1053, 1060 (N.D. Cal. 1988) (finding that if plaintiff’s
10   complaint meets the notice requirements of Fed. R. Civ. P. 8, and
11   defendants are provided with a sufficient basis to respond, the
12   proper avenue for eliciting additional detail is through
13   discovery); Famolare, Inc. v. Edison Brothers Stores, Inc.,
14   525 F. Supp. 940, 949 (E.D. Cal. 1981) (“A motion for a more
15   definite statement should not be granted unless the defendant
16   cannot frame a responsive pleading.”); CMAX, Inc. v. Hall,
17   290 F.2d 736, 738 (9th Cir. 1961).
18
19        C.   Motion to Strike Pursuant to Fed. R. Civ. P. 12(f).
20        Fed. R. Civ. P. 12(f) provides that “redundant, immaterial,
21   impertinent, or scandalous matters” may be “stricken from any
22   pleading.”   Fed. R. Civ. P. 12(f).   “[O]nly pleadings are subject
23   to motions to strike.”   See Sidney-Vinstein v. A.H. Robins Co.,
24   697 F.2d 880, 885 (9th Cir. 1983).
25        Motions to strike are disfavored and infrequently granted.
26   See Pease & Curran Ref., Inc. v. Spectrolab, Inc., 744 F. Supp.
27   945, 947 (C.D. Cal. 1990), abrogated on other grounds by Stanton
28   Road Ass'n v. Lohrey Enters., 984 F.2d 1015 (9th Cir. 1993).

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 1   “[M]otions to strike should not be granted unless it is clear
 2   that the matter to be stricken could have no possible bearing on
 3   the subject matter of the litigation.”       Colaprico v. Sun
 4   Microsystems, Inc., 758 F. Supp. 1335, 1339 (N.D. Cal. 1991)
 5   (citation omitted).
 6
 7        D.     42 U.S.C. § 1983
 8        “Section 1983 provides for liability against any person
 9   acting under color of law who deprives another ‘of any rights,
10   privileges, or immunities secured by the Constitution and laws’
11   of the United States.”4    S. Cal. Gas Co. v. City of Santa Ana,
12   336 F.3d 885, 887 (9th Cir. 2003) (quoting 42 U.S.C. § 1983).
13   //
14   //
15   //
16
17        4
              Specifically, 42 U.S.C. § 1983 provides:
18
                 Every person who, under color of any statute,
19               ordinance, regulation, custom, or usage, of any State
                 or Territory or the District of Columbia, subjects, or
20               causes to be subjected, any citizen of the United
                 States or other person within the jurisdiction thereof
21               to the deprivation of any rights, privileges, or
22               immunities secured by the Constitution and laws, shall
                 be liable to the party injured in an action at law,
23               suit in equity, or other proper proceeding for redress,
                 except that in any action brought against a judicial
24               officer for an act or omission taken in such officer’s
                 judicial capacity, injunctive relief shall not be
25               granted unless a declaratory decree was violated or
26               declaratory relief was unavailable. For the purposes of
                 this section, any Act of Congress applicable
27               exclusively to the District of Columbia shall be
                 considered to be a statute of the District of Columbia.
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 1             1.   Suits Against Local Governments: The Monell
                    Doctrine.
 2
 3        Local governments are “persons” subject to suit for
 4   “constitutional tort[s]” under 42 U.S.C. § 1983.5        Haugen v.
 5   Brosseau, 339 F.3d 857, 874 (9th Cir. 2003) (citing Monell v.
 6   Dep’t of Soc. Servs., 436 U.S. 658, 691 n. 55 (1978)).          “[T]he
 7   legislative history of the Civil Rights Act of 1871 compels the
 8   conclusion that Congress did intend municipalities and other
 9   local government units to be included among those persons to whom
10   § 1983 applies.”   Monell, 436 U.S. at 690.      Local governments can
11   be sued for monetary, declaratory, or injunctive relief where
12   such suits arise out of unconstitutional actions that implement
13   or execute a “policy statement, ordinance, or decision officially
14   adopted and promulgated by that body's officers....”          Id. 690-1.
15   If no official policy exists, “customs and usages” may fulfill
16   this element of a § 1983 claim against a local government.           Id.
17        A local government’s liability is limited, however.
18   Although a local government can be held liable for its official
19   policies or customs, it will not be held liable for an employee’s
20   actions outside of the scope of these policies or customs.           “A
21   municipality cannot be held liable solely because it employs a
22
          5
23          “There is certainly no constitutional impediment to
     municipal liability. ‘The Tenth Amendment’s reservation of
24   nondelegated powers to the States is not implicated by a
     federal-court judgment enforcing the express prohibitions of
25   unlawful state conduct enacted by the Fourteenth Amendment.’”
26   Monell, 436 U.S. 691 (quoting Milliken v. Bradley, 433 U.S. 267,
     291 (1977)). There is no “basis for concluding that the Eleventh
27   Amendment is a bar to municipal liability.” Id. (citing
     Fitzpatrick v. Bitzer, 427 U.S. 445, 456 (1976); Lincoln County
28   v. Luning, 133 U.S. 529, 530 (1890)).

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 1   tortfeasor -- or, in other words, a municipality cannot be held
 2   liable under § 1983 on a respondeat superior theory.”          Monell,
 3   436 U.S. at 691.     “A local government may not be sued under
 4   § 1983 for an injury inflicted solely by its employees or agents.
 5   Instead, it is when execution of a government’s policy or custom,
 6   whether made by its law-makers or by those whose edicts or acts
 7   may fairly be said to represent official policy, inflicts the
 8   injury that the government as an entity is responsible under
 9   § 1983.”   Id. at 694.
10        To prevail on a § 1983 complaint against a local government
11   under Monell, a plaintiff must satisfy a three-part test:
12        (1)   The local government official(s) must have
13              intentionally violated the plaintiff’s constitutional
14              rights;
15        (2)   The violation must be a part of policy or custom and
16              may not be an isolated incident; and
17        (3)   A nexus must link the specific policy or custom to the
18              plaintiff’s injury.
19   See Monell, 436 U.S. at 690-92.
20
21              2.   Suits Against Governmental Officials
22                   (a)    Official-Capacity Suits
23        “[Section] 1983 claims against government officials in their
24   official capacities are really suits against the governmental
25   employer because the employer must pay any damages awarded.”
26   Butler v. Elle, 281 F.3d 1014, 1023 (9th Cir. 2002) (citing
27   Ky. v. Graham, 473 U.S. 159, 165-66 (1985)); see also Doe v.
28   Lawrence Livermore Nat’l Lab., 131 F.3d 836, 839 (9th Cir. 1997)

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 1   (finding that “a suit against a state official in his official
 2   capacity is no different from a suit against the [official’s
 3   office or the] State itself”) (citing Will v. Mich. Dep’t of
 4   State Police, 491 U.S. 58, 70-71 (1989).      “As the Supreme Court
 5   has stated, ‘official-capacity suits...generally represent only
 6   another way of pleading an action against an entity of which an
 7   officer is an agent.’”     Ruvalcaba v. City of Los Angeles,
 8   167 F.3d 514, 524 n.3 (9th Cir. 1999) (quoting Graham, 473 U.S.
 9   at 165).    “‘As long as the government entity receives notice and
10   an opportunity to respond, an official-capacity suit is, in all
11   respects other than name, to be treated as a suit against the
12   entity.’”   Ruvalcaba, 167 F.3d at 524 n.3 (quoting Graham,
13   473 U.S. at 166.).
14
15                    (b)   Personal-Capacity Suits
16        “‘Personal-capacity suits seek to impose personal liability
17   upon a government official for actions he takes under color of
18   state law.’”    Dittman v. Cal., 191 F.3d 1020, 1027 (9th Cir.
19   1999) (quoting Graham, 473 U.S. at 165); see also Hafer v. Melo,
20   502 U.S. 21, 25 (1991) (finding that “[p]ersonal capacity suits
21   seek to impose liability on state officials for acts taken under
22   color of state law”); Stivers v. Pierce, 71 F.3d 732, 749 (9th
23   Cir. 1995).    In setting forth the distinctions between personal
24   and official capacity suits, the Supreme Court said:
25         Personal-capacity suits seek to impose personal
           liability upon a government official for actions he
26         takes under color of state law. See, e.g., Scheuer
           v. Rhodes, 416 U.S. 232, 237-238 (1974).
27         Official-capacity suits, in contrast, “generally
           represent only another way of pleading an action
28         against an entity of which an officer is an agent.”

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 1            Monell[], 436 U.S. at 690, n. 55 []. As long as the
              government entity receives notice and an opportunity
 2            to respond, an official-capacity suit is, in all
              respects other than name, to be treated as a suit
 3            against the entity. Brandon, 469 U.S., at 471-472.
              It is not a suit against the official personally, for
 4            the real party in interest is the entity. Thus,
              while an award of damages against an official in his
 5            personal capacity can be executed only against the
              official’s personal assets, a plaintiff seeking to
 6            recover on a damages judgment in an official-capacity
              suit must look to the government entity itself.
 7
 8   Graham, 473 U.S. 159, 166 (1985).
 9        “While the plaintiff in a personal-capacity suit need not
10   establish a connection to governmental ‘policy or custom,’
11   officials sued in their personal capacities, unlike those sued in
12   their official capacities, may assert personal immunity defenses
13   such as objectively reasonable reliance on existing law.”            Pena
14   v. Gardner, 976 F.2d 469, 473 (9th Cir. 1992) (quoting Graham,
15   473 U.S. at 166-167).     Individuals are not immune under the
16   doctrine of qualified immunity if they violated “clearly
17   established statutory or constitutional rights of which a
18   reasonable person would have known.”6       Harlow v. Fitzgerald, 457
19
20        6
            Immunity is not absolute, as the Ninth Circuit has
     explained:
21
22            This court has held that, when a public official acts
              in reliance on a duly enacted statute or ordinance,
23            that official ordinarily is entitled to qualified
              immunity. See Grossman v. City of Portland, 33 F.3d
24            1200, 1210 (9th Cir. 1994) (holding that “an officer
              who reasonably relies on the legislature’s
25            determination that a statute is constitutional should
26            be shielded from personal liability”). The existence
              of an authorizing statute is not dispositive,
27            however. Qualified immunity does not extend to a
              public official who enforces a statute that is
28            “patently violative of fundamental constitutional

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 1   U.S. 800, 818 (1982).    “A victory in such a suit is a ‘victory
 2   against the individual defendant, rather than against the entity
 3   that employs him.’”     Cerrato v. San Francisco Community College
 4   Dist., 26 F.3d 968, 973 (9th Cir. 1994) (quoting Graham, 473 U.S.
 5   at 166-67).
 6
 7        E.    State Law Claims Against Public Entities and the
                California Tort Claims Act.
 8
 9        Plaintiff brings the following state law claims against
10   Defendants:   violation of Cal. Labor Code § 1102.5 and violation
11   of Cal. Gov. Code § 52378, et seq.     The California Tort Claims
12   Act governs tort claims against public entities and their
13   officials.    See Cal. Gov. Code § 810 et seq.     The California Tort
14   Claims Act (“CTCA”) requires plaintiffs to present a written
15   claim to the public entity allegedly responsible for their damage
16   before initiating suit on the cause of action.        Cal. Gov. Code
17   § 945.6.
18        Under the California Tort Claims Act, no suit for “money or
19   damages” may be brought against a public entity until a written
20   claim has been presented to the public entity and the claim
21   either has been acted upon or is deemed to have been rejected.
22   Hart v. Alameda County, 76 Cal. App. 4th 766, 778 (Cal. Ct. App.
23   1999).    The CTCA requires a plaintiff to file a timely tort claim
24   with the public entity; if the claim is not timely, the public
25   entity may reject the claim.
26
27         principles.”    Id. at 1209.

28   Dittman, 191 F.3d at 1027.

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 1        If a claimant fails to timely file a claim with the public
 2   entity, and its claim is consequently rejected by the public
 3   entity for that reason, courts are without jurisdiction to hear
 4   the claimant’s cause of action.    Greyhound Lines, Inc. v. County
 5   of Santa Clara, 187 Cal. App. 3d 480, 487 (1986); Moyer v. Hook,
 6   10 Cal. App. 3d 491, 492-3 (Cal. Ct. App. 1970); Carr v. State of
 7   Cal., 58 Cal. App. 3d 139, 144-6 (Cal. Ct. App. 1976); Williams
 8   v. Mariposa County Unified Sch. Dist., 82 Cal. App. 3d 843, 848-9
 9   (Cal. Ct. App. 1978).   For causes of action for death, personal
10   injury, or injury to personal property, a claimant must file a
11   claim within six months of the accrual of the cause of action.
12   Cal. Gov. Code § 911.2.
13        The CTCA also permits the filing of an application to file a
14   late claim for certain claims: “[w]hen a claim that is required
15   by Section 911.2 to be presented not later than six months after
16   the accrual of the cause of action is not presented within that
17   time, a written application may be made to the public entity for
18   leave to present that claim.”    Cal. Gov. Code § 911.4.        The
19   CTCA’s six-month limitations period applies to causes of action
20   for death, personal injury, or injury to personal property.           Id.
21   at § 911.2.   If a claimant fails to timely file a petition to
22   file a late claim, courts are without jurisdiction to hear the
23   cause of action.
24        The overall policy of the claim requirements and time
25   limitations of the California Tort Claims Act are to: (1) “give
26   the governmental entity an opportunity to settle just claims
27   before suit is brought;” (2) “permit the entity to make an early
28   investigation of the facts on which a claim is based, thus

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 1   enabling it to defend itself against unjust claims and to correct
 2   the conditions or practices which gave rise to the claim;” and
 3   (3) “avoid multiple suits arising out of the same transaction or
 4   occurrence and thus further[] the goal of judicial economy.”
 5   Greyhound Lines, 187 Cal. App. 3d at 487 (quoting Gehman v.
 6   Super. Ct., 96 Cal. App. 3d 257, 262, 265 (Cal. Ct. App. 1979),
 7   disapproved on other grounds by Dept. of Transportation v. Super
 8   Ct. (“Frost”), 26 Cal.3d 744, 759 n. 5 (1980)).
 9
10        E.   State Law Claims.
11        Cal. Labor Code § 1102.5 is a “whistleblower” statute that
12   establishes liability for employers who retaliate against their
13   employees for disclosing information to government or law
14   enforcement agencies.   Specifically, § 1102.5(b) provides that:
15        An employer may not retaliate against an employee for
          disclosing information to a government or law
16        enforcement agency, where the employee has reasonable
          cause to believe that the information discloses a
17        violation of state or federal statute, or a violation
          or noncompliance with a state or federal rule or
18        regulation.
19        Cal. Gov. Code § 53298(a) establishes liability for any
20   local agency officer, manager, or supervisor who retaliates
21   against any employee for filing a complaint with the local agency
22   reporting “gross mismanagement, a significant waste of funds, an
23   abuse of authority, or a specific and substantial danger to
24   public health or safety.”     Cal. Gov. Code §§ 53298(a), 53296(c);
25   see also LeVine v. Weis, 90 Cal. App. 4th 201, 212 (2001)
26   (discussing § 53298 in dicta).
27   //
28   //

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 1                                 V.     ANALYSIS
 2
 3        A.    Whether Plaintiff’s § 1983 Claims Are Time-Barred.
 4        A plaintiff is ordinarily not required to plead around
 5   affirmative defenses.   Hyatt Chalet Motels, 430 F.2d at 1120.
 6   The statute of limitations is an affirmative defense.              A
 7   complaint may nevertheless be dismissed pursuant to Rule 12(b)(6)
 8   if the facts and dates alleged demonstrate that the complaint is
 9   time-barred.   Ritchie, 210 F. Supp. 2d at 1123; Jablon, 614 F.2d
10   at 682.   Defendants argue that Plaintiff’s § 1983 claims are
11   time-barred based on the allegations in the Second Amended
12   Complaint.   (Doc. 33, Def.’s Mem. 2-6).
13        In California, claims brought under 42 U.S.C. § 1983 are
14   governed by California’s statute of limitations for personal
15   injury actions.   Taylor v. Regents of Univ. of Cal., 993 F.2d
16   710, 711-2 (9th Cir. 1993).        Plaintiff’s 42 U.S.C. § 1983 claim
17   is therefore governed by California’s statute of limitations for
18   personal injuries under Cal. Civ. Proc. § 335.1.             Currently, the
19   limitations period is two years; however, prior to January 1,
20   2003, the limitations period for personal injuries was one year.7
21   The applicable statute of limitations here is two years since the
22   Complaint was filed after January 1, 2003.
23        “Although state law prescribes the statute of limitations
24   applicable to section 1983 claims, federal law governs the time
25   of accrual.”   Gibson v. United States, 781 F.2d 1334, 1339 (9th
26
27
          7
            California Senate Bill 688 amended the one year statute of
28   limitations to two years, effective January 1, 2003.

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 1   Cir. 1986).    “Under federal law, a cause of action generally
 2   accrues when a plaintiff knows or has reason to know of the
 3   injury which is the basis of his action.”      Id. (internal
 4   quotations omitted).
 5        Plaintiff’s § 1983 claims are based on allegations of
 6   retaliation for his exercise of expression under the First
 7   Amendment.    The adverse employment actions alleged include the
 8   following:    (1) from June 1997 to December 2002, Plaintiff was
 9   passed over for promotions and special assignments (including an
10   incident in July 2002 when Defendants intentionally “killed” a
11   promotional list with Plaintiff’s name to avoid promoting
12   Plaintiff); and (2) on March 1, 2004, Plaintiff was placed on
13   Administrative Leave pending a fitness for duty examination.
14   (See Doc. 27, Pl.’s Opp. 10).
15        Defendants do not dispute that Plaintiff’s March 1, 2004,
16   Administrative Leave is not time-barred.      (See Doc. 33, Def.’s
17   Mem. 6; Doc. 28, Def.’s Reply 4).     Plaintiff’s complaint was
18   filed on November 1, 2004.8   Plaintiff’s § 1983 claim based on
19
20        8
            Neither party addresses Plaintiff’s § 1983 claim in light
     of the relation back doctrine of Rule 15. Defendants assume for
21   purposes of argument that November 1, 2004, is the operative
22   date, instead of March 3, 2005, which is the date the Second
     Amended Complaint was filed. Before proceeding with the statute
23   of limitations analysis, the operative date of filing must be
     determined through a Rule 15 analysis.
24
          Fed. R. Civ. P. 15(c)(2) provides that “[a]n amendment of a
25   pleading relates back to the date of the original pleading when
26   ... the claim or defense asserted in the amended pleading arose
     out of the conduct, transaction, or occurrence set forth or
27   attempted to be set forth in the original pleading.” Here,
     Plaintiff’s original Complaint contained § 1983 claims. (Doc. 1,
28   Compl. ¶ 62). Those claims related to the same protected

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 1   his placement on Administrative Leave was therefore filed within
 2   the 2-year statutory period.    Likewise, Defendants do not dispute
 3   that alleged incidents of failure to promote Plaintiff that
 4   occurred after November 1, 2002 are not time-barred.          The only
 5   issue is whether incidents of failure to promote that occurred
 6   before November 1, 2002 are time-barred.
 7        Plaintiff argues that incidents occurring before
 8   November 1, 2002 are not time-barred because they are part of a
 9   “continuing violation.”   Plaintiff argues that the Ninth
10   Circuit’s “related acts” test applies, and cites two Ninth
11   Circuit cases in support (i.e., Green v. Los Angeles County
12   Superintendent of Schools, 883 F.2d 1472, 1480-81; Williams v.
13   Owens-Illinois, Inc., 665 F.2d 918, 924 (9th Cir. 1982)).
14   Defendants respond that the “related acts” test does not apply
15   here because that test was overruled by the United States Supreme
16   Court in Nat’l R. R. Passenger Corp. v. Morgan, 536 U.S. 101, 114
17   (2002).   Defendants note that the Morgan Court held that where a
18   plaintiff alleges discrete retaliatory acts, the statute of
19   limitations runs separately from each act.       Defendants argue that
20   Plaintiff’s allegations that he was passed over for promotions a
21   number of times from 1997 to December 2002 constitute discrete
22
23
     activities alleged in the Second Amended Complaint; i.e.,
24   reporting (a) the Mata sexual misconduct allegations; (b) racial
     harassment of Southeast Asian Explorers; (c) the “banking” of
25   overtime hours; and (d) testifying before the hearing regarding
26   cheating on the promotional examination. Plaintiff’s § 1983
     claims in its Second Amended Complaint therefore arise out of the
27   same transactions alleged in its original complaint. The
     relation back doctrine applies and the operative date for statute
28   of limitations purposes is November 1, 2004.

                                      23
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 1   acts.   Defendants argue that Plaintiff cannot base his § 1983
 2   claim on alleged incidents of failure to promote that occurred
 3   before November 1, 2002 because the statute of limitations for
 4   each of those alleged actions has run.
 5        Discrete employment actions are not subject to the
 6   continuing violations doctrine.     Morgan, 536 U.S. 101, 114
 7   (2002).    The United States Supreme Court includes “failure to
 8   promote” among discrete employment actions.       Id.    Each of
 9   Plaintiff’s allegations of failure to promote is therefore a
10   separate actionable violation with a distinct accrual date.
11   Although Morgan was an employment discrimination action brought
12   under Title VII, the Ninth Circuit applies the Supreme Court’s
13   holding in Morgan to actions brought under § 1983.           RK Ventures,
14   Inc. v. City of Seattle, 307 F.3d 1045, 1061 (9th Cir. 2002);
15   Carpinteria Valley Farms, Ltd. v. County of Santa Barbara,
16   44 F.3d 822 (9th Cir. 2003); Thompson v. City of Shasta Lake, 314
17   F. Supp. 2d 1017, 1027 (E.D. Cal. 2004).
18        Plaintiff argues that “[a] continuing violation may be
19   established by showing a series of related acts against a single
20   individual, one or more of which falls within the limitations
21   period.”    (Doc. 27, Pl.’s Opp. 11).   Plaintiff cites Green v. Los
22   Angeles County Superintendent of Schools, 883 F.2d 1472, 1480-81;
23   Williams v. Owens-Illinois, Inc., 665 F.2d 918, 924 (9th Cir.
24   1982) in support of its argument that the “related acts” doctrine
25   applies in determining whether alleged discriminatory acts
26   constitute continuing violations.      However, as the Ninth Circuit
27   noted recently:
28        Morgan overruled previous Ninth Circuit authority holding

                                       24
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 1        that, if a discriminatory act was “related and similar to”
          acts that took place outside the limitations period, all the
 2        related acts--including the earlier acts--were actionable as
          part of a continuing violation. [citation] Morgan held
 3        that “discrete discriminatory acts are not actionable if
          time barred, even when they are related to acts alleged in
 4        timely filed charges.”
 5
     RK Ventures, Inc. v. City of Seattle, 307 F.3d 1045, 1061
 6
     (9th Cir. 2002) (quoting Morgan, 122 S.Ct. at 2072).
 7
          Insofar as Plaintiff’s § 1983 claims are based on incidents
 8
     of failure to promote that occurred before November 1, 2002
 9
     Defendants’ Motion to Dismiss is GRANTED.      This ruling has no
10
     bearing on the evidentiary admissibility of such prior acts or
11
     omissions, which must be separately determined.
12
13
          B.     Whether Plaintiff States Individual Capacity Claims
14               Against the Individual Defendants Under § 1983.
15        Defendants argue that Plaintiff fails to state individual
16   capacity claims under § 1983 against the Defendants GARNER, DYER,
17   ENMARK, FIFIELD, and GUTHRIE because Plaintiff fails to state a
18   claim for First Amendment retaliation.      Defendants also argue
19   that Plaintiff fails to state individual capacity claims against
20   all individual Defendants because they are entitled to qualified
21   immunity.    (Doc. 33, Def.’s Mem. 8-12).
22
23               1.   Whether Plaintiff States Claims for First
                      Amendment Retaliation.
24
25        The underlying constitutional violation on which Plaintiff
26   bases his § 1983 claim is First Amendment retaliation.          To state
27   a claim for retaliation based on exercise of First Amendment
28   rights, a plaintiff must allege the following elements:          (1) the

                                      25
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 1   plaintiff engaged in expressive conduct that addressed a matter
 2   of public concern; (2) the government official took an adverse
 3   action against the plaintiff; and (3) the expressive conduct was
 4   a substantial or motivating factor for the adverse action taken
 5   by the government official.     Alpha Energy Savers, Inc. v. Hansen,
 6   381 F.3d 917, 923 (9th Cir. 2004).
 7        Defendants GARNER, DYER, and ENMARK argue that Plaintiff’s
 8   § 1983 claim against them must be dismissed because Plaintiff
 9   fails to allege the second element of a First Amendment
10   retaliation claim, i.e., that GARNER, DYER, and ENMARK took an
11   “adverse employment action” against Plaintiff.        (Doc. 33, Def.’s
12   Mem. at 8-12).    However, Plaintiff responds that he alleges that
13   all three of these defendants took an “adverse employment action”
14   against him.     (See Doc. 27, Pl.’s Opp. 15 n. 7; 16, n. 8).        In a
15   First Amendment retaliation case, an “adverse employment action”
16   is an act that is reasonably likely to deter employees from
17   engaging in constitutionally protected speech; it is not
18   necessary that the plaintiff demonstrate the loss of a valuable
19   governmental benefit or privilege.     Coszalter v. City of Salem,
20   320 F.3d 968, 975 (9th Cir. 2003) (holding that to determine
21   whether an act constitutes an adverse employment action, “the
22   inquiry is whether the exercise of the first amendment rights was
23   deterred by the government employer’s action”) (internal
24   quotations omitted).    First, Plaintiff alleges that GARNER failed
25   to promote him as retaliation for his “whistleblowing.”          (Doc. 1,
26   Compl. ¶ 41).    Second, Plaintiff alleges that DYER and ENMARK
27   placed Plaintiff on Administrative Leave after his complaints.
28   (Id. at ¶ 45).    Third, Plaintiff alleges that DYER and ENMARK

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 1   refused to reinstate Plaintiff despite that three psychologists
 2   declared Plaintiff fit for duty.      (Id. at ¶ 50).       Each of these
 3   allegations identifies individual adverse employment action by
 4   each supervisor specifically directed against Plaintiff.
 5   Plaintiff has sufficiently alleged the “adverse employment
 6   action” element of a First Amendment retaliation claim against
 7   GARNER, DYER, and ENMARK.
 8        Defendants also argue that Plaintiff fails to state a claim
 9   against Defendants FIFIELD and GUTHRIE because he did not allege
10   the third element for a First Amendment Retaliation claim; i.e.,
11   that FIFIELD and GUTHRIE’s failure to promote Plaintiff was
12   motivated by Plaintiff’s expression.        (Doc. 33, Def.’s Mem. 12).
13   However, Plaintiff notes that Paragraph 41 of the Complaint does
14   allege causation:   “NEVEU was denied each and every promotion as
15   a result of WEST, FIFIELD, GUTHRIE, and GARNER’S actions, and in
16   retaliation for NEVEU reporting the Mata allegations, the alleged
17   racial harassment, and the end of the year report....”
18        Defendants’ arguments that Plaintiff has not alleged all
19   three elements of a First Amendment claim are without merit and
20   find no support in the pleadings.     Defendants’ Motion to Dismiss
21   Plaintiff’s § 1983 claims against the individual Defendants on
22   the grounds that Plaintiff fails to allege First Amendment
23   retaliation claims against them is DENIED.
24
25             2.   Qualified Immunity.
26        Defendants next argue that GARNER, DYER, ENMARK, FIFIELD,
27   GUTHRIE, and WEST are entitled to qualified immunity.            Public
28   officials sued in their individual capacity, as here, are immune

                                      27
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 1   from suit if “their conduct [did] not violate clearly established
 2   statutory or constitutional rights of which a reasonable person
 3   would have known.”    Harlow v. Fitzgerald, 457 U.S. 800, 818
 4   (1982); Saucier v. Katz, 533 U.S. 194, 201 (2001); Dittman, 191
 5   F.3d at 1027.    “To determine whether qualified immunity is
 6   appropriate, a court must identify the specific right allegedly
 7   violated and determine whether that right was so clearly
 8   established as to alert a reasonable officer to its
 9   constitutional parameters; if the law is clearly established, it
10   determines whether a reasonable officer could have believed
11   lawful the particular conduct at issue.”      Knox v. Southwest
12   Airlines, 124 F.3d 1103, 1107 (9th Cir. 1997) (internal
13   quotations and citations omitted); see also Saucier, 533 U.S. at
14   201.    Defendants’ arguments in support of qualified immunity
15   consist solely of conclusory statements that the individual
16   defendants in question are immune from suit.       (Doc. 33, Def.’s
17   Mem., 10.4; 11.7; 11.25; 12:8).    Defendants cite a few cases that
18   address general immunity principles, but cite no authority to
19   support that police officials are immune from suit when they
20   retaliate against a whistelblowing employee for reporting sexual
21   or racial discrimination to superiors, or for testifying that
22   other officers were cheating on promotional exams.           See Mitchell
23   v. Forsyth, 472 U.S. 511, 526 (1985); Brewster v. Bd. of Educ. of
24   the Lynwood Unifid Sch. Dist., 149 F.3d 971, 977 (9th Cir. 1988);
25   Knox v. Southwest Airlines, 124 F.3d 1103, 1107 (9th Cir. 1997).
26          Plaintiff alleges that his superiors denied him promotions
27   and placed him on administrative leave because he reported sexual
28   misconduct/harassment and racial discrimination and testified

                                       28
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 1   that cheating was occurring on police department promotional
 2   exams.    Plaintiff argues that these allegations are sufficient to
 3   overcome qualified immunity at this stage in the litigation.
 4        Plaintiffs’ allegations do not establish that the officers
 5   here acted reasonably under the totality of the circumstances or
 6   in reasonable reliance on a clearly established statute or
 7   constitutional provision.     Plaintiff complains that he was
 8   retaliated against for having reported racial discrimination,
 9   sexual misconduct, and overtime improprieties, and for having
10   testifying regarding cheating in the police department.
11   Reporting such activities is expressive conduct regarding matters
12   of public concern and is conduct facially protected by the First
13   Amendment right to free speech.     Defendants do not attempt to
14   identify any statute or constitutional provision under which
15   Defendants could have reasonably carried out such actions.
16   Defendant’s Motion to Dismiss Plaintiff’s § 1983 claims on
17   qualified immunity grounds is DENIED.
18
19        C.    Whether Plaintiff States a Claim Against the CITY Under
                § 1983.
20
21        Defendants argue that Plaintiff fails to state a claim
22   against the CITY because he does not allege the existence of a
23   Monell policy or custom.      (Doc. 33, Def.’s Mem. 13; see also Doc.
24   28, Def.’s Reply 5-6).     Plaintiff responds, in conclusory
25   fashion, that he has alleged that Chief DYER has policy-making
26   authority.   Plaintiff does not argue that he has alleged the
27   existence of a defined policy that operated to violate his civil
28   rights.   Defendants argue that the alleged actions of Chief DYER

                                        29
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 1   do not constitute a “policy.”    (Doc. 28, Def.’s Reply 6.18-27).
 2        Local governments are “persons” subject to suit for
 3   “constitutional tort[s]” under 42 U.S.C. § 1983.          Haugen,
 4   339 F.3d at 854.   The CITY, as a local government, is therefore
 5   subject to suit under § 1983.    However, local governments can
 6   only be sued where the claims arise out of unconstitutional
 7   actions by their employees who implement or execute a “policy
 8   statement, ordinance, or decision officially adopted and
 9   promulgated by that body’s officers....”       Monell, 436 U.S. at
10   690-1.   In other words, a municipality cannot be held liable for
11   an employee’s actions outside the scope of implementation of the
12   policies or customs on a respondeat superior theory.           Id.    A
13   municipality can, however, be held liable for the acts of one of
14   its employees acting in an “official” capacity.         “‘[O]fficial-
15   capacity suits...generally represent only another way of pleading
16   an action against an entity of which an officer is an agent.’”
17   Ruvalcaba, 167 F.3d at 524 n. 3 (quoting Graham, 473, U.S. at
18   165).
19        Here, Plaintiff attempts to plead an “official capacity”
20   suit against Defendant DYER.    However, Plaintiff’s conclusory
21   allegations regarding the purported policy implemented and/or
22   created by Defendant DYER do not define or describe what that
23   policy is.   (See Compl. ¶¶ 4, 54).   Plaintiff’s “official
24   capacity” claim against the CITY is deficient.
25        Defendants argue that Plaintiff fails to state a claim
26   against the CITY because he has not alleged that the Defendant
27   officers had policy-making authority.       Plaintiff responds that he
28   has alleged that Chief DYER has policy-making authority.             (Doc.

                                      30
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 1   27, Pl.’s Opp. 17).    Plaintiff cites Paragraphs 4 and 54 of his
 2   Complaint, which do contain allegations that Defendant DYER has
 3   policy-making authority.      (Id.).    However, Defendants correctly
 4   note that the alleged actions of Defendant DYER in a specific
 5   case are not per se an official policy.        (Doc. 28, Def.’s Reply
 6   6).   Just as Plaintiff fails to state a claim against the CITY
 7   because he fails to identify the CITY’s policy by describing a
 8   pattern or practice, Plaintiff also fails to state a claim
 9   against Defendant DYER in his official capacity for failing to
10   define the same purported policy.       Alleging that DYER had policy-
11   making authority without defining the policy and its operation is
12   not sufficient.
13         Plaintiff’s argument that delegation of authority to
14   subordinates can subject a municipality to liability also fails.
15   Plaintiff argues that municipal liability can be established by
16   showing that “‘an official with final policymaking authority
17   either delegated that authority to, or ratified the decision of,
18   a subordinate.’”    (Doc. 27, Pl.’s Opp. 18 (quoting Ulrich v. City
19   and County of San Francisco, 308 F.3d 968, 985 (9th Cir. 2002)).
20   However, Plaintiff fails to identify any allegations in the
21   Complaint that identify what decision-making authority DYER
22   delegated to his subordinates.     Defendant notes that Plaintiff
23   incorporates Paragraphs 1-52 into his cause of action and that
24   “[s]uch allegations include numerous actions taken by a variety
25   of other officers....”    (Doc. 28, Def.’s Reply 6).           To the extent
26   that Plaintiff attempts to allege official capacity claims
27   against the Defendant Officers other than DYER, Plaintiff’s
28   attempts fail.    Plaintiff’s allegations of decision-making and

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 1   policy-making authority are conclusory and insufficient.           In
 2   addition, no policy is identified or defined.
 3        Defendants’ Motion to Dismiss Plaintiff’s § 1983 claim
 4   against the CITY is GRANTED with leave to amend.
 5
 6        D.   Whether Plaintiff Can Maintain a § 1983 Claim Based On
               a Violation of the Fourteenth Amendment.
 7
 8        Defendants argue in a footnote that Plaintiff’s § 1983 claim
 9   should be dismissed insofar as it is based on a violation of the
10   Fourteenth Amendment.   (Doc. 33, Def.’s Mem. 16, n. 3).
11   Plaintiff does not address this argument in his opposition.
12   (See Doc. 28, Def.’s Reply 5).    Defendants argue that Plaintiff
13   appears to allege that Defendants violated his rights under the
14   Equal Protection Clause of the Fourteenth Amendment by treating
15   him differently for having exercised his rights to free speech.
16   (Doc. 33, Def.’s Mem. 16, n. 3).
17        “To state a claim under 42 U.S.C. § 1983 for a violation of
18   the Equal Protection Clause of the Fourteenth Amendment a
19   plaintiff must show that the defendants acted with an intent or
20   purpose to discriminate against the plaintiff based upon
21   membership in a protected class.”     Lee v. City of Los Angeles,
22   250 F.3d 668, 686 (9th Cir. 2001).    The purpose of the equal
23   protection clause is to “secure every person within the State’s
24   jurisdiction against intentional and arbitrary discrimination,
25   whether occasioned by express terms of a statute or by its
26   improper execution through duly constituted agents.”          Village of
27   Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (per curiam)
28   (quoting Sioux City Bridge Co. v. Dakota County, 260 U.S. 441,

                                      32
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 1   445 (1923)).   A successful equal protection claim may be brought
 2   by a “class of one,” where the plaintiff alleges that he has been
 3   intentionally treated differently from others similarly situated.
 4   Id. at 563.
 5        Plaintiff identifies no allegations in his Complaint that he
 6   was treated differently from others who were similarly situated.
 7        Defendant’s Motion to Dismiss Plaintiff’s § 1983 claims
 8   insofar as they are based on alleged violations of the Equal
 9   Protection Clause of the Fourteenth Amendment is GRANTED.
10
11        E.   State Law Claims.
12             1.    Whether Jurisdiction Exists over Plaintiff’s Claim
                     Under Cal. Labor Code § 1102.5.
13
14        Cal. Labor Code § 1102.5 establishes liability for employers
15   who retaliate against their employees for disclosing information
16   to government or law enforcement agencies.       Defendants argue that
17   a federal court lacks jurisdiction to hear Plaintiff’s claim for
18   violation of Cal. Labor Code § 1102.5 because, pursuant to
19   Cal. Labor Code §§ 98.6 and 98.7, claims under Section 1102.5 are
20   solely within the province of the Labor Commissioner.          (Doc. 33,
21   Def.’s Mem. 17; Doc. 28, Def.’s Reply 7).      Plaintiff responds
22   that, pursuant to Cal. Labor Code § 96, Plaintiff “may” file a
23   claim with the Labor Commissioner, although he is not required to
24   do so.
25        Cal. Labor Code § 98.7 provides that “[a]ny person who
26   believes that he or she has been discharged or otherwise
27   discriminated against in violation of any law under the
28   jurisdiction of the Labor Commissioner may file a complaint with

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 1   the division within six months after the occurrence of the
 2   violation.”   Cal. Labor Code § 98.6(a) describes claims brought
 3   pursuant to various sections of the labor code, including §
 4   1102.5, as brought “under the jurisdiction of the labor
 5   Commissioner.”    Neither of the provisions Defendants cite
 6   provides that exclusive jurisdiction over § 1102.5 claims lies
 7   with the Labor Commissioner.     Defendants argue that Plaintiff
 8   cites no cases allowing a court to hear a claim under § 1102.5.
 9   Defendants also cite no cases holding that the Labor Commissioner
10   has exclusive jurisdiction over § 1102.5 claims and that a court
11   is not allowed to hear a § 1102.5 claim.
12        The California Supreme Court has recently held that a
13   litigant seeking damages under § 1102.5 is required to exhaust
14   administrative remedies before the Labor Commissioner prior to
15   bringing suit.    Campbell v. Regents of the Univ. of Cal., 35 Cal.
16   4th 311, 333-4 (2005) (“We conclude that absent a clear
17   indication of legislative intent, we should refrain from
18   inferring a statutory exemption from our settled rule requiring
19   exhaustion of administrative remedies.”)      The exhaustion of
20   administrative remedies rule is “well established in California
21   jurisprudence.”    Id. at 321.   “‘[T]he rule is that where an
22   administrative remedy is provided by statute, relief must be
23   sought from the administrative body and this remedy exhausted
24   before the courts will act.’”     Id. (quoting Ablelleira v. Dist.
25   Ct. of Appeal, 17 Cal. 2d 280, 292 (1941)).       “Exhaustion of
26   administrative remedies is a jurisdictional prerequisite to
27   resort to the courts.”    Id. (quoting Johnson v. City of Loma
28   Linda, 24 Cal. 4th 61, 70 (2000) (internal quotations omitted)).

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 1        Plaintiff does not allege that he exhausted available
 2   administrative remedies, including bringing a complaint before
 3   the Labor Commissioner, before bringing suit.
 4        Defendants’ Motion to Dismiss Plaintiff’s claim under Cal.
 5   Labor Code § 1102.5 is GRANTED on the grounds that there is no
 6   jurisdiction.9
 7
 8             2.     Whether Plaintiff States a Claim Under Cal. Gov.
                      Code § 53298, et seq.
 9
10        Cal. Gov. Code § 53298(a) establishes liability for any
11   local agency officer, manager, or supervisor who retaliates
12   against any employee for filing a complaint with the local agency
13   reporting “gross mismanagement, a significant waste of funds, an
14   abuse of authority, or a specific and substantial danger to
15   public health or safety.”     Cal. Gov. Code §§ 53298(a), 53296(c);
16   see also LeVine, 90 Cal. App. 4th at 212 (discussing § 53298 in
17   dicta).
18        Plaintiff’s claim under § 53298 arises out of his
19   allegations that he was placed on Administrative Leave because of
20   (1) his written reports of sexual molestation by former-officer
21   Mata and of “administrative improprieties that appeared designed
22   to foster opportunities for further sex crimes;” and (2) his
23   “written reports of racial harassment of Southeast Asian
24   Explorers by Police Activity League volunteers.”         (Doc. 23,
25   Second Am. Compl. ¶¶ 21, 29, 60).      Although Plaintiff’s
26
          9
27          Because there is no jurisdiction to hear this claim,
     Defendants’ substantive arguments regarding the sufficiency of
28   Plaintiff’s Section 1105.2 claim will not be addressed.

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 1   allegations are not entirely clear, it appears he filed at least
 2   some of these reports with the Internal Affairs and Human
 3   Resources Departments of the Fresno Police Department.            (See
 4   id.).   Plaintiff alleges that his reports of alleged sexual
 5   misconduct by Officer Mata and racial discrimination against
 6   “Southeast Asian Explorers” constituted “an abuse of authority
 7   and a substantial and specific danger to public health and
 8   safety.”    (Id. at ¶ 60).
 9
10                    (a)   Whether Plaintiff States a Cal. Gov. Code
                            § 53298 Claim against the CITY.
11
12        Defendants argue that Plaintiff is not entitled to bring a
13   § 53298 claim against the CITY as is explicitly set forth in the
14   statute.    (Doc. 33, Def.’s Mem. 18).      Plaintiff does not dispute
15   Defendant’s argument in his opposition.        (See Doc. 28, Def.’s
16   Reply 9).
17        Cal. Gov. Code § 53298.5(b) provides that no cause of action
18   for violation of that section shall be brought against the local
19   public entity:
20        In no way [] shall the provisions of this article establish
          ...any new cause of action against the local public entity
21        other than liabilities contained in existing law.
22        Defendant’s Motion to Dismiss Plaintiff’s Claim Under Cal.
23   Gov. Code § 53298, et seq., against the CITY is GRANTED.
24
25                    (b)   Whether Plaintiff States a Cal. Gov. Code
                            § 53298 Claim against the Individual
26                          Defendants.
27        Defendants argue that Plaintiff fails to state a claim under
28   § 53298 against the individual officers because he has not

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 1   pleaded all required elements as set forth in Cal. Gov. Code
 2   §§ 53296(c)-(d), 53297(a)-(d), and 53298(a).       Plaintiff argues
 3   that he has complied with the pleading requirements.
 4        The elements for this whistleblower cause of action are not
 5   clearly listed in any single section of the statute.          Also, there
 6   does not appear to be any case law interpreting this statute.
 7   According to the statute’s various provisions, it appears that
 8   the elements of a claim under § 53298 include the following:
 9        1)   The employee filed a complaint with a local agency
10             regarding gross mismanagement, a significant waste of
11             funds, an abuse of authority, or a specific and
12             substantial danger to public health or safety.           Cal.
13             Gov. Code §§ 53297(a), 53276(c)-(d).
14        2)   The complaint was filed within 60 days of the date of
15             the act or event that is the subject of the complaint.
16             Id. at § 53297(a).
17        3)   The complaint was filed under penalty of perjury.           Id.
18             at § 53297(d).
19        4)   The complaint was filed in accordance with the locally
20             adopted administrative procedure, or in the alternative
21             there was no administrative procedure available.           Id.
22             at § 53297(c).
23        5)   The employee made a good faith effort to exhaust all
24             available administrative remedies before filing the
25             complaint.10   Id. at § 53297(b).
26
          10
27          “The 60-day time limit specified in [§ 53297(a)] shall be
     extended by the amount of time actually utilized by the employee
28   in pursuing administrative remedies.” Id. at § 53297(b).

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 1        6)   A local agency officer, manager, or supervisor took a
 2             reprisal action against the employee for filing the
 3             complaint.     Id. at § 53298(a).
 4        Plaintiff here has alleged three of the six elements listed
 5   above: (1) the complaints he filed with Internal Affairs and/or
 6   Human Resources related to abuse of authority and a substantial
 7   and specific danger to public health or safety; (2) that these
 8   complaints were filed in accordance with the CITY’s
 9   administrative policies and procedures; and (3) that his
10   supervisors, who were local agency officers, took a reprisal
11   action (i.e., placing him on Administrative Leave) as the result
12   of his filing these complaints.    Plaintiff has not alleged the
13   three remaining elements; i.e., (1) that he filed these
14   complaints within 60 days of the acts or events; (2) that the
15   complaints were filed under penalty of perjury; and (3) that he
16   attempted, in good faith, to exhaust the available administrative
17   remedies before filing his complaint, or in the alternative that
18   there were no available administrative remedies.
19        Assuming that the elements defined by the statute are
20   pleading requirements, Plaintiff has failed to allege all
21   elements necessary to state a claim.        Defendants’ Motion to
22   Dismiss Plaintiff’s claim under § 52378 is GRANTED with leave to
23   amend.
24
25                  (c)     Whether Plaintiff fails to allege causation
                            between Plaintiff’s whistleblowing activities
26                          and the retaliatory act.
27        Defendants argue that because the whistleblowing activities
28   alleged took place in 1996 and 1997, and the alleged retaliatory

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 1   act (i.e., the placement of Plaintiff on Administrative Leave)
 2   took place over seven years later in March 2004, Plaintiff fails
 3   to establish a causal connection.     Plaintiff’s response is to
 4   refer to several paragraphs of the Second Amended Complaint
 5   (¶¶ 28-29, 37, 39-41, 43).    Plaintiff states in his opposition
 6   that “[w]hile the allegations are too extensive to set forth in
 7   full here, a quick perusal of the Complaint as a whole
 8   demonstrates the existence, if not presumption of a causal link.”
 9   (Doc. 27, Pl.’s Opp. 20).
10        Plaintiff’s Complaint alleges that, from 1997 to 2002, he
11   was retaliated against by being passed over for promotions, and
12   that eventually the retaliation culminated in his being placed on
13   administrative leave in March 2004.     While Plaintiff’s argument
14   about causation is tenuous, Defendants’ contention that Plaintiff
15   has failed to “establish” causation, ignores that this issue is
16   for the fact-finder and cannot be resolved at the pleading stage.
17        Defendant’s Motion to Dismiss Plaintiff’s § 53298 claim on
18   the grounds of failure to allege causation is DENIED.
19
20                   (d)   Whether Plaintiff’s § 53298 Claim is Time-
                           Barred for Failure to Timely File a Claim
21                         under the California Tort Claims Act.
22        Under the California Tort Claims Act, no suit for “money or
23   damages” may be brought against a public entity until a written
24   claim has been presented to the public entity and the claim
25   either has been acted upon or is deemed to have been rejected.
26   Hart v. Alameda County, 76 Cal. App. 4th 766, 778 (Cal. Ct. App.
27   1999).   The CTCA requires a plaintiff to file a timely tort claim
28   with the public entity; if the claim is not timely, the public

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 1   entity may reject the claim.    If a claimant fails to timely file
 2   a claim with the public entity, and its claim is consequently
 3   rejected by the public entity for that reason, courts are without
 4   jurisdiction to hear the claimant’s cause of action.           Greyhound
 5   Lines, 187 Cal. App. 3d at 487; Moyer, 10 Cal. App. 3d at 492-3;
 6   Carr, 58 Cal. App. 3d at 144-6; Williams v. Mariposa County, 82
 7   Cal. App. 3d at 848-9.    For causes of action for death, personal
 8   injury, or injury to personal property, a claimant must file a
 9   claim within six months of the accrual of the cause of action.
10   Cal. Gov. Code § 911.2.
11        The parties dispute when Plaintiff’s cause of action under
12   § 53298 accrued.   Defendants argue that it accrued in March 2004,
13   when Plaintiff was placed on administrative leave.           Plaintiff
14   suggests that it accrued on July 6, 2004, when Defendants DYER
15   and ENMARK refused to reinstate Plaintiff after allegedly having
16   received opinions from three psychiatrists that he was fit for
17   duty.   Neither party offers any argument or authority as to when
18   a claim under § 53298 accrues.    Plaintiff argued that the
19   earliest he reasonably could have been aware of his whistleblower
20   claim was July 2004, when Defendants refused to reinstate him to
21   duty after having been declared fit for duty by three
22   psychologists.   Construing Plaintiff’s allegations in the most
23   favorable light, as is required on a Rule 12(b)(6) motion,
24   Plaintiff’s whistleblower claim under § 53298 is not deficient
25   for failure to timely file a complaint under the California Tort
26   Claims Act.
27        Defendant’s Motion to Dismiss Plaintiff’s § 53298 claim on
28   the grounds it is barred by the California Tort Claims Act is

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 1   DENIED.
 2
 3          F.     Defendants’ Motion to Strike Pursuant to Fed. R. Civ.
                   P. 12(f).
 4
 5          “[M]otions to strike should not be granted unless it is
 6   clear that the matter to be stricken could have no possible
 7   bearing on the subject matter of the litigation.”              Colaprico, 758
 8   F. Supp. at 1339 (citation omitted).
 9
10                 1.   Plaintiff’s Claim for Punitive Damages under
                        § 1983.
11
12          First, Defendants argue that Plaintiff’s claim for punitive
13   damages under § 1983 against the individual defendants should be
14   dismissed because Plaintiff fails to plead sufficient facts to
15   support claims of malice against them.       (Doc. 33, Def.’s Mem.
16   20).    Under § 1983, punitive damages are proper either when a
17   defendant’s conduct was driven by evil motive or intent, or when
18   it involved a reckless or callous indifference to the
19   constitutional rights of others.        Smith v. Wade, 461 U.S. 30, 56
20   (1983); Larez v. City of Los Angeles, 946 F.2d 630, 639 (9th Cir.
21   1991).      A public entity cannot be sued under § 1983 as a matter
22   of law for punitive damages.      City of Newport v. Fact Concerts,
23   Inc., 453 U.S. 247, 271 (1981).     Insofar as Defendants seek to
24   strike Plaintiff’s punitive damages claim against the CITY, their
25   motion is GRANTED.
26          As to the punitive damages claims against the individual
27   defendants, Defendants’ conclusory argument that “Plaintiffs
28   [sic] allegations are insufficient to meet [the] standard as to

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 1   all six individual Defendants” is not persuasive.             It is not
 2   clear from Plaintiff’s allegations whether the individual
 3   defendants were motivated by evil intent or whether they acted
 4   with recklessness or callous indifference to Plaintiff’s
 5   constitutional rights.   Plaintiff’s allegations are sufficient to
 6   infer malice.   See Fed. R. Civ. P. 9(b).      Whether the officers
 7   acted with malice is a question of fact not properly decided on a
 8   motion to dismiss.   Defendants’ Motion to Strike Plaintiff’s
 9   claim for punitive damages against the individual defendants is
10   DENIED.
11
12             2.    Plaintiff’s Claim for Punitive Damages under Cal.
                     Gov. Code § 53298.
13
14        Second, Defendants argue that Plaintiffs’ claim for punitive
15   damages under Cal. Gov. Code § 53298 should be stricken for
16   failure to plead malice.      In support, Defendants cite the
17   definition of malice at Cal. Civ. Code § 3294(c)(1) and two
18   California state cases regarding malice pleading requirements.
19   Federal district courts sitting in diversity apply the
20   substantive law of the forum state, but apply procedural rules as
21   stated in the Federal Rules of Civil Procedure.         Erie R.R. Co. v.
22   Tompkins, 30 U.S. 64, 78 (1938); see also Clark v. Allstate Ins.
23   Co., 106 F. Supp. 2d 1016, 1019 n.3 (S.D. Cal. 2000).             The
24   California law Defendants cite is not controlling.             While Cal.
25   Civ. Code § 3294(a) applies insofar as it allows for the recovery
26   of punitive damages on a successful tort claim (including
27   //
28   //

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 1    statutory torts),11 the Federal Rules of Civil Procedure govern
 2   pleading standards in federal district court.
 3        Specifically, Rule 9(b) governs pleading requirements for
 4   malice:   “Malice, intent, knowledge and other condition[s] of
 5   mind of a person may be averred generally.”         The court in Clark,
 6   following other federal district courts in California, held that
 7   “conclusory assertions that a defendant acted intentionally, with
 8   ‘malice’ or with ‘conscious disregard’” are “adequate to plead
 9   the mental state required under Section 3294.”          Clark, 106
10   F. Supp. 2d at 1019-20 (holding that because plaintiff’s
11   complaint alleges that defendant intentionally denied plaintiff’s
12   insurance claim and that it acted with an intent to injure
13   plaintiff, the Complaint complied with Fed. R. Civ. P. 8, 9).
14   Here Plaintiff alleges that Defendants retaliated against
15   Plaintiff for his “whistleblowing” activities.          (See Doc. 23,
16   Second Am. Compl. ¶ 60).      Allegations of retaliation are
17   sufficient to infer intent to injure.        Defendants’ Motion to
18   Strike Plaintiff’s claim for punitive damages under Cal. Gov.
19   Code § 53298 is DENIED.
20
21              3.   Plaintiff’s Allegations Relating to Defendants’
                     Failure to Promote Plaintiff “Between June 1997
22                   and December 2002.”
23        Defendants argue that Plaintiff’s allegations relating to
24   Defendants’ failure to promote Plaintiff “between approximately
25   June 1997 and December 2002” should be stricken because one of
26
          11
27          Cal. Civ. Code § 3294(a) allows for an award of punitive
     damages against a tortfeasor whose acts are characterized by
28   oppression, fraud, or malice.

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 1   Plaintiff’s previously-filed complaints alleged different dates.
 2   Specifically, Plaintiff’s First Amended Complaint alleged that
 3   Defendants failed to promote him “between June 1997 and January
 4   2002.”    Defendants argue that Plaintiff’s “new” allegations
 5   contradict the allegations in the First Amended Complaint, that
 6   Plaintiff provided no explanation for the purported
 7   contradiction, and that therefore the “new” allegations need not
 8   be accepted as true and should be stricken.        (Doc. 33, Def.’s
 9   Mem. 21).    Defendants cited no law or rule that does not allow a
10   plaintiff to expand the time period of alleged wrongdoing.            The
11   expanded time period in the operative complaint does not
12   contradict the allegation in the earlier complaint.           Defendants’
13   Motion to Strike Plaintiffs’ allegations relating to Defendants’
14   failure to promote him between June 1997 and December 2002 is
15   DENIED.
16
17               4.     Plaintiff’s Allegations Relating to Adverse
                        Employment Actions Taken Before November 1, 2002.
18
19        Defendants argue that Plaintiff’s allegations relating to
20   adverse employment actions taken before November 1, 2002, should
21   be stricken as time-barred.     Under notice pleading requirements,
22   a party is not required to plead evidentiary facts.           See Fed. R.
23   Civ. P. 8(a).     Allegations relating to adverse employment actions
24   may be evidence of improper motive, even if a § 1983 claim based
25   upon those actions would be time-barred.       Carpinteria Valley
26   Farms, Ltd. v. County of Santa Barbara, 344 F.3d 822, 829 (9th
27   Cir. 2003).      It is not proper to make evidentiary rulings at the
28   pleading stage.     Striking allegations of adverse actions outside

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 1   the statutory period for § 1983 violations is therefore not
 2   appropriate.   Defendants’ Motion to Strike Plaintiff’s
 3   allegations relating to adverse actions prior to November 1, 2002
 4   is DENIED.
 5
 6             5.      Plaintiff’s Allegations Relating to his Written
                       Reports of the Alleged Sexual Misconduct of
 7                     Officer Mata.
 8        Defendants’ papers do not make clear the precise allegations
 9   regarding Officer Mata that they move to strike.         Defendants
10   refer to Paragraphs 16-28 of the Second Amended Complaint in
11   their motion and their reply, and appear to move to strike all
12   allegations contained in these paragraphs.       However, Defendants’
13   argument relates only to Plaintiff’s allegations regarding the
14   purported dispute between Internal Affairs and Plaintiff’s chain
15   of command as to whether Plaintiff should report issues relating
16   to Officer Mata in writing.    (Doc. 28, Def.’s Reply 12).
17   Defendants assume that Plaintiff’s § 1983 cause of action is
18   based upon this purported internal police dispute.           Defendants
19   argue that the allegations regarding the disagreement over the
20   form of the reports does not, as a matter of law, relate to a
21   matter of public concern, and is therefore not protected speech
22   under the First Amendment.    Plaintiff’s response does not relate
23   specifically to his allegations regarding the form of the
24   reports, but instead appears to relate to all of his allegations
25   regarding Mata.    Plaintiff argues that reports of sexual
26   misconduct by a police officer address matters of public concern
27   and are therefore protected speech.
28        The parties’ treatment of this complex First Amendment issue

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 1   is cursory and deficient.     First, Defendants appear to raise an
 2   argument on the merits, which is not appropriate on a Rule 12(f)
 3   motion to strike.   See Ritzer v. Gerovicap Pharmaceutical Corp.,
 4   162 F.R.D. 642, 644 (D. Nev. 1995).     Defendant appears to argue
 5   that internal disputes over the form of reports are not, as a
 6   matter of law, matters of public concern.       This argument goes to
 7   the merits of Plaintiff’s First Amendment retaliation claim and
 8   is more appropriately dealt with on a Rule 12(b)(6) motion to
 9   dismiss.
10        Second, Defendants’ characterization of Plaintiff’s § 1983
11   claim is inaccurate, although Plaintiff does not dispute
12   Defendants’ characterization in his opposition.         Defendants state
13   that Plaintiff’s § 1983 violation is “based on a dispute between
14   the Internal Affairs Division and his chain of command as to
15   whether he should report issues relating to Officer Mata in
16   writing.”   (Doc. 33, Def.’s Mem. 24).      Plaintiff’s § 1983 cause
17   of action, as stated in the Second Amended Complaint, contains no
18   specific allegations regarding the protected speech upon which
19   his § 1983 claim is based.    (See Doc. 23, Second Am. Compl.
20   ¶¶ 53-4).   Allegations elsewhere in the complaint, however,
21   provide additional information.    Specifically, Plaintiff alleges
22   that he was retaliated against for having reported to Internal
23   Affairs, in writing, information regarding purported sexual
24   misconduct by Officer Mata.    Furthermore, Plaintiff alleges that
25   he was retaliated against for disobeying orders from his
26   immediate chain of command not to report the sexual misconduct to
27   Internal Affairs, in writing or otherwise, and that he was only
28   to report the alleged sexual misconduct to his immediate

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 1   superiors.
 2         Plaintiff’s allegations regarding a purported “dispute”
 3   within the Fresno Police Department over whether reports of
 4   Officer Mata’s alleged sexual misconduct should be in writing are
 5   irrelevant to Plaintiff’s § 1983 claim and should therefore be
 6   stricken is not appropriately decided on a motion to strike.
 7         Public employees do not relinquish their right to free
 8   speech by virtue of their employment.        Ceballos v. Garcetti, 361
 9   F.3d 1168, 1173 (9th Cir. 2004).       However, public employees do
10   not enjoy absolute First Amendment rights.         Id.   To determine
11   whether a public employee’s speech is protected by the First
12   Amendment, courts in the Ninth Circuit apply a two-step test.
13   Id.   The first step is to determine whether the speech addresses
14   a matter of public concern.     Id.    If it does, the next step is to
15   engage in a balancing analysis established by the United States
16   Supreme Court in Pickering v. Bd. of Educ. of Township High
17   School Dist. 205, 291 U.S. 563, 568 (1968).         The balancing test
18   requires a court to determine whether the public employee’s
19   interest in expressing him- or herself outweighs the government’s
20   interest “in promoting workplace efficiency and avoiding
21   workplace disruption.”   Id.
22         Defendants argue that allegations regarding the dispute
23   between Internal Affairs and Plaintiff’s chain of command over
24   whether the reports regarding Officer Mata should be in writing
25   are not matters of public concern and are therefore irrelevant to
26   Plaintiff’s First Amendment claim and should be stricken.             This
27   argument goes to the merits of Plaintiff’s First Amendment
28   retaliation claim and should not be dealt with on a motion to

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 1   strike.    The issue whether the expressive conduct upon which
 2   Plaintiff bases his First Amendment retaliation claim is
 3   protected speech was not fully briefed by the parties and should
 4   not be decided in the context of this motion.
 5        The dispute over the reports concerning alleged violations
 6   of law by police officers is part of the overall alleged scheme
 7   of discrimination.    Defendants’ Motion to Strike Plaintiff’s
 8   allegations in Paragraphs 16 through 28 is DENIED.               Defendants’
 9   motion to strike the Mata allegations as irrelevant to the state
10   whistleblower claims is MOOT.
11
12                               VI.     CONCLUSION
13
14        Defendants’ Motions to Dismiss pursuant to Rule
15        12(b)(6):
16
17        (1)    Plaintiff’s § 1983 claims insofar as they are
18               based on adverse employment actions occurring
19               before November 1, 2002 is GRANTED with prejudice;
20
21        (2)    Plaintiff’s § 1983 claims against the individual
22               Defendants is DENIED;
23
24        (3)    Plaintiff’s § 1983 claim against the CITY is
25               GRANTED with leave to amend; Defendants’ Motion
26               for a More Definite Statement pursuant to Rule
27               12(e) as to Plaintiff’s § 1983 claim against the
28               CITY is MOOT;

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 1        (4)   Plaintiff’s § 1983 claim based on deprivation of
 2              rights under the Fourteenth Amendment is GRANTED;
 3
 4        (5)   Plaintiff’s Cal. Labor Code § 1102.5 claim is
 5              GRANTED; and
 6
 7        (6)   Plaintiff’s Cal. Gov. Code § 53298 claim against
 8              the CITY is GRANTED; Plaintiff’s Cal. Gov. Code §
 9              53298 claim against the individual Defendants on
10              the grounds of failure to plead all elements is
11              GRANTED with leave to amend; Plaintiff’s § 53298
12              claim against individual defendants on all other
13              grounds is DENIED.
14
15        Defendants’ Motions to Strike pursuant to Rule 12(f)
16        Plaintiff’s claim for punitive damages as to the CITY
17        is GRANTED.   Defendants’ Motion to Strike all remaining
18        claims is DENIED.
19
20   SO ORDERED.
21   DATED: July 15__, 2005.
22                                            /s/ Oliver W. Wanger
                                           ______________________________
23                                                Oliver W. Wanger
                                           UNITED STATES DISTRICT JUDGE
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